                        UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                              Case No. 3:16-cv-00311

 UNITED STATES OF AMERICA and the STATE
 OF NORTH CAROLINA,

                               Plaintiffs,

          v.                                            PRETRIAL ORDER AND CASE
                                                           MANAGEMENT PLAN
 THE CHARLOTTE-MECKLENBURG HOSPITAL
 AUTHORITY d/b/a CAROLINAS HEALTHCARE
 SYSTEM,

                               Defendant.



          IN ACCORDANCE WITH the Local Rules of the Western District of North Carolina

and pursuant to Rule 16 of the Federal Rules of Civil Procedure, the parties enter the following

Pretrial Order and Case Management Plan in this matter.


                              DEADLINES AT A GLANCE

 Fact Discovery Completion:       February 2, 2018
 Expert Discovery Completion: July 27, 2018
 Expert Reports:                  March 9, 2018 (Plaintiffs)
                                  May 4, 2018 (Defendant)
                                  June 8, 2018 (Plaintiffs’ Rebuttal)
 Mediation:                       July 20, 2018
 Dispositive Motions:             August 3, 2018 (Initial Motion)
                                  August 31, 2018 (Opposition)
                                  September 14, 2018 (Reply)
 Trial:                           November 5, 2018




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                                     I.      DISCOVERY

A.    DISCOVERY GUIDELINES: Discovery in this case is limited as follows: Each party

      may propound no more than 20 interrogatories, including subparts; no more than 30

      requests for admission (excluding requests for admission to authenticate documents for

      trial), and take no more than 40 depositions of fact witnesses.

B.    RULE 26 DISCLOSURES: The parties have agreed to exchange the information set forth

      in Rule 26(a) by May 5, 2017.

C.    RESPONSES TO INTERROGATORIES AND REQUESTS FOR ADMISSION:

      Every response to an interrogatory or request for admission, and every objection thereto,

      shall be preceded by the original number and complete text of the corresponding

      interrogatory or request for admission.

D.    THE MAINTENANCE OF DISCOVERY MATERIALS: Discovery materials are

      NOT to be filed. All counsel are advised to consult the local rule which provides that while

      depositions, interrogatories, and requests for admission, and responses thereto, must still

      be served on all parties, they are no longer to be filed unless upon order of the Court. The

      parties are responsible for the preservation of any and all discovery materials they may

      generate.

E.    VIDEO DEPOSITIONS: If video depositions are taken and counsel intend to use them

      at trial for any purpose other than impeachment, counsel are directed to resolve any

      objections and edit the video accordingly so that the video may be shown without

      interruption. Failure to do this prior to trial will result in objections being deemed waived.

      No video deposition may be admitted as evidence at trial unless all parties have had the

      opportunity to attend and cross-examine the witness at the deposition. To the extent that a




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      party or parties reasonably believes or believe that a video deposition will be used at trial

      as substantive testimony in lieu of calling the witness live, no such deposition may be

      conducted unless the opposing party or parties have had an opportunity to conduct a

      discovery deposition at least ten days prior to the scheduled date of the video deposition.

      Such discovery deposition will not count against the deposition limit set forth in this

      Pretrial Order and Case Management Plan unless the discovery deposition was conducted

      before notice of the video deposition for use at trial. Nothing in this provision shall bar the

      parties from otherwise using a video deposition for all uses provided under the Federal

      Rules of Civil Procedure and Rules of Evidence and nothing in this provision precludes

      any party from having a discovery deposition recorded by video.

F.    PROTECTIVE ORDER: The parties have entered into a Protective Order Regarding

      Confidentiality which has been adopted and entered by the Court, (Doc. Nos. 43, 45). The

      terms and conditions of this Protective Order are adopted by reference and incorporated

      into this Pretrial Order and Case Management Plan. To the extent that there is ambiguity

      in these orders, the terms and conditions of the Protective Order shall be followed pending

      any clarification or interpretation. Any objections made to discovery requests shall be

      accompanied by a draft proposed protective order if such order is, or will be, requested.

      When counsel submit proposed protective orders, they shall include a provision leaving the

      ultimate disposition of protected materials subject to a final order of the Court on the

      completion of litigation.




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G.     DISCOVERY COMPLETION: By May 19, 2017, each party shall have made any

       demands for “claims data”1 that it intends to make from the following six insurers – Aetna,

       Blue Cross Blue Shield of North Carolina, Blue Cross Blue Shield of South Carolina,

       Cigna, MedCost, and UnitedHealthcare. Any subsequent demands for claims data from

       those six insurers may only be made with leave of the court on good cause shown. Plaintiffs

       and defendants shall meet and confer by May 26, 2017, to determine if they can demand a

       common set of claims data from the six insurers. The parties shall exchange preliminary

       fact witness lists by September 22, 2017. Those lists shall contain no more than 20

       potential fact witnesses per side (including fact witnesses who may also offer expert

       testimony). If a party is unable to identify by name a witness, but is able to identify for

       whom the witness is (or was) employed and the category or categories of testimony about

       which the witness is expected to testify, a party may identify such a witness generically

       using this information for up to five witnesses. This generic identification does not apply

       to witnesses employed or formerly employed by a party and is intended to apply to potential

       witnesses employed or formerly employed by third parties. The parties shall exchange

       final fact and expert witness lists by January 5, 2018, not to exceed 25 fact witnesses per

       side and with no more than five fact witnesses not previously listed on the preliminary fact

       witness list. Parties may not generically identify witnesses on this final fact witness list.

       Any individual identified on a party’s final fact witness list who was not identified on the

       party’s preliminary witness list, including any witness who was previously identified



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        Such data is understood by the parties to be “machine readable” data which sets forth
claims for any requested period. It is the intent of this provision to alleviate the burden on the
named third parties in producing such data, but documentary material—such as emails,
spreadsheets, or other similar items—that are not machine readable and which may contain or refer
to claims data is not intended to be encompassed in this paragraph.



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      generically may be deposed. Such new witness’ depositions shall not count against the

      deposition limit. Thereafter, a party may add to a witness list only upon leave of court and

      for good cause shown. For each expert listed, the parties shall provide the name, address

      and affiliation of the expert as well as a copy of the expert’s resume. Within ten (10) days,

      each side may supplement its list to add additional experts, but only if directly responsive

      to an expert listed by the other side. All factual discovery, other than discovery to

      authenticate documents shall be completed by February 2, 2018. All discovery (fact and

      expert) shall be complete no later than July 27, 2018. Supplementations per Rule 26(e)

      shall be due within thirty (30) days after obtaining applicable information. Counsel are

      directed to initiate discovery requests and notice or subpoena depositions sufficiently in

      advance of the discovery deadline so as to comply with this Order. Discovery requests that

      seek responses or schedule depositions after the discovery completion deadline are not

      enforceable except by order of the Court for good cause shown. The parties may consent

      to extensions of the discovery completion deadline so long as any such extension expires

      not later than ten (10) days prior to scheduled trial time. If a party requests an extension

      of time to respond to discovery requests or to extend the discovery deadline, the result of

      consultation with opposing counsel must be stated in the motion.

H.    EXPERT WITNESSES: Pursuant to Rule 26(a)(2) and by March 9, 2018, the Plaintiffs

      shall provide expert reports from any witness they expect to testify as an expert that is

      either (a) retained or specifically employed to provide expert testimony in the case or (b)

      otherwise employed by one of them. By May 4, 2018, Defendant shall provide reports

      pursuant to Rule 26(a)(2) of any witness it expects to testify as an expert that is either (a)

      retained or specifically employed to provide expert testimony in the case or (b) otherwise




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      employed by it. The Plaintiffs shall provide rebuttal reports from any witness they expect

      to testify as an expert that is either (a) retained or specially employed to provide expert

      testimony in the case, or (b) otherwise employed by one of them by June 8, 2018. For any

      witness from which a party intends to elicit expert testimony, but who is not either (a)

      retained or specially employed to provide expert testimony in the case, or (b) otherwise

      employed by a party, the party shall provide the disclosures described in F.R.C.P.

      26(a)(2)(C)(i) and (ii) on March 9, 2018 (for Plaintiffs) and on May 4, 2018 (for

      Defendant). If any witness was deposed before he or she was identified as offering expert

      testimony, that previous deposition will not foreclose another deposition as set forth in

      paragraph I below to explore the expert’s testimony and bases thereof. Any expert witness

      not identified in accordance with this paragraph shall not be permitted to testify at trial.

I.    DEPOSITIONS OF EXPERT WITNESSES: The parties shall make expert witnesses

      available for deposition at mutually convenient times and places. The deposition of an

      expert witness shall not be used by the party identifying the expert in lieu of the expert’s

      appearance at trial unless all parties consent. Nothing in this Pretrial and Case Management

      Order shall bar the parties from otherwise using the deposition of an expert witness for all

      uses provided for under the Federal Rules of Civil Procedure and Rules of Evidence. Each

      party shall be responsible for the applicable fees and expenses of the expert witness

      identified by the party. The party taking the deposition of the expert witness is not required

      to subpoena the witness for attendance at the deposition. In addition, each expert shall be

      required to appear at a deposition with all materials the expert relied on that were not

      previously produced to the other side. This requirement does not alter the parties’

      November 15, 2016 agreement regarding what the experts are not required to preserve or




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            disclose and what they are required to disclose. Any party may choose to attend or conduct

            the deposition of an expert witness by telephone or by video-conference provided that

            counsel for any party to this action may appear in person at the deposition. In the event

            counsel for a party chooses to conduct or attend the deposition of an expert witness by

            video-conference, the expert witness shall be required to appear at a video-conferencing

            facility within 40 miles of his or her place of business. The party represented by counsel

            attending by video-conference shall bear the costs of travel by the expert witness to the

            video-conferencing facility. All parties who have counsel attend a deposition by video-

            conference shall split the costs of the video-conference on a pro rata basis.

     J.     TIME LIMITATION ON DEPOSITIONS: If the deposition of a third-party is noticed

            by one side, and not cross-noticed within three (3) business days of the service of the notice,

            then the side which issued the notice shall allot two (2) hours for examination to the side

            that did not issue the notice. If a deposition is cross-noticed, then the parties shall evenly

            split the deposition time by side. If a party cross-notices a third-party deposition, but uses

            two hours or less of its allocated 3.5 hours, 1.5 hours reverts to the opposing party.

            Otherwise, there is no reallocation of deposition time for cross-noticed or non-cross-

            noticed depositions. Depositions of witnesses may not extend for more than 7 hours of

            examination time, unless the witness agrees or the Court orders additional examination

            time. However, no side shall be permitted to examine an individual witness in deposition

            for more than 7 hours.

                                             II.     MOTIONS

A.        DISPOSITIVE MOTIONS DEADLINE:                   All motions other than motions in limine,

          motions challenging expert testimony under Daubert, and motions to continue shall be filed




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     no later than August 3, 2018. Parties may not extend this deadline by agreement and

     stipulated extensions of the completion of discovery do not extend the Motions Deadline.

     Responses to dispositive motions shall be filed no later than August 31, 2018. Replies shall

     be filed no later than September 14, 2018. The dispositive motion and the response shall each

     be no more than 40 pages in length. Any reply shall be no more than 20 pages in length.

B.   MOTIONS HEARINGS: Hearings on motions will be conducted when the Rules require a

     hearing, when the papers filed in support of and in opposition to the motion do not provide an

     adequate basis for decision, or when the Court determines it would aid the decisional process.

     The Court invites oral argument on dispositive motions whenever any of the attorneys believe

     that it would assist in the resolution of such motions. All motions requiring a hearing will be

     heard as soon as it is practical. The Clerk will notify all parties as far in advance as possible

     of the date and time set for the hearing.

C.   MEMORANDA IN SUPPORT OF MOTIONS:                          Every motion shall include, or be

     accompanied by, a brief written statement of the facts, a statement of the law, including

     citations of authority and the grounds on which the motion is based. Motions not in compli-

     ance with this Order are subject to summary denial.

D.   RESPONSES AND REPLIES: Other than as set forth in Paragraph II.A. above, responses

     to motions, if any, must be filed within fourteen (14) days of the date on which the motion is

     filed. Replies to responses, if any, must be filed within seven (7) days of the date on which

     the response is filed. All motions, and oppositions and replies related thereto, will be by the

     Court’s electronic filing system and will not extend the time for a response or reply provided

     that such motion or opposition is served no later than 8:00pm, Eastern Time. Motions or

     oppositions served after 8:00pm, Eastern Time, shall be considered as filed for the purposes




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          of any response on the next business day. Any service other than by the electronic filing

          system or by e-mail shall be subject to Rule 6(d) and the respondent shall have an additional

          three (3) days to file a response or reply.

E.        ENLARGEMENT OF TIME: If counsel need more than fourteen (14) days to file a

          response or seven (7) days to file a reply, a motion for extension of time shall be filed,

          accompanied by a proposed order. The moving party must show consultation with opposing

          counsel regarding the requested extension and must notify the Court of the views of opposing

          counsel on the request. If a party fails to make the requisite showing, the Court may

          summarily deny the request for extension.

F.        MOTIONS TO COMPEL: A motion to compel must include a statement by the movant

          that the parties have conferred in good faith in an attempt to resolve the dispute and are unable

          to do so. Consistent with the spirit, purpose, and explicit directives of the Federal Rules of

          Civil Procedure and the Local Rules of the Western District of North Carolina, the Court

          expects all parties (and counsel) to attempt in good faith to resolve discovery disputes without

          the necessity of court intervention. Failure to do so may result in appropriate sanctions.

                                                III.    TRIAL

     A.     TRIAL DATE. A bench trial is scheduled for November 5, 2018. The parties estimate

            that the total time needed for trial will be approximately 15 days.

     B.     TRIAL SUBPOENAS: Counsel must subpoena all witnesses at least ten (10) days before

            the trial date. The Court may elect not to enforce subpoenas that have not been issued in

            compliance with this deadline, or, if requested, may quash subpoenas that have not been

            issued in compliance with this deadline. To assist the parties in planning discovery, and in

            view of the possibility that potential witnesses may be located outside this District, the




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      parties shall be permitted, pursuant to 15 U.S.C. § 23, to issue trial subpoenas that may run

      into any other federal district requiring witnesses to attend this Court.

C.    COUNSEL’S DUTIES PRIOR TO TRIAL:

             a) After September 14, 2018, and no later than September 28, 2018, counsel for

                 all parties shall:

                      i. Discuss the possibility of settlement;

                     ii. Exchange copies of exhibit lists, and proposed exhibits or permit

                         inspection if copying is impractical;

                    iii. Number and become acquainted with all exhibits;

                     iv. Exchange by page and line number(s) the identification of the portions

                         of depositions which each side intends to offer into evidence; and

                     v. File any Daubert motions related to experts or motions in limine.

             b) Counsel shall by October 10, 2018, exchange objections to the admissibility

                 exhibits and the identification of depositions intended to be offered into

                 evidence and counter-designate those portions of depositions which each

                 intends to introduce into evidence in response to those designations.

             c) Counsel shall also file any responses to Daubert motions related to experts or

                 motions in limine by October 10, 2018. Without leave of the Court, no replies

                 to any such motions shall be filed.

             d) Counsel shall by October 15, 2018, meet and confer to resolve the admissibility

                 of exhibits and deposition designations.

D.    COUNSEL’S FILINGS TWO WEEKS BEFORE TRIAL: By October 19, 2018,

      counsel for each party shall file with the Clerk of Court each of the following:




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              a) A trial brief addressing all issues of fact;

              b) The deposition testimony a party will offers as evidence at trial; and

              c) Based upon the designations and counter-designations noted above, the parties

                  shall agree on and provide a trial copy with highlighting to distinguish between

                  such designations, subject to objection. The parties shall list in the margin or

                  by other appropriate means, objections to such testimony and responses to those

                  objections.

              d) Agree upon stipulations of fact and file them with the Court. The parties are

                  encouraged to stipulate to as many facts as possible to facilitate the trial of the

                  case.

E.    On October 29, 2018, counsel for the parties will be available for a final pre-trial

      conference.

F.    COUNSEL’S FILINGS ON THE FIRST DAY OF TRIAL: No later than the morning

      of the first day of trial, counsel for each party shall file with the Clerk of Court an original

      and four (4) copies of the following:

              a) A witness list containing the name of every proposed witness;

              b) A statement of the education, experience, and qualifications of each expert

                  witness, unless the parties have stipulated to the qualifications of each expert

                  witness;

              c) Stipulations concerning the authenticity of as many proposed exhibits as

                  possible; and

              d) An exhibit list.




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G.    COUNSEL’S FILINGS POST-TRIAL: Thirty (30) days after the delivery of the final

      volume of transcript for the trial, counsel shall file with the Court their Proposed

      Conclusions of Law and their Proposed Findings of Fact.

H.    EXHIBITS:       Parties are expected to use presentation technology available in the

      courtroom. Training on the equipment should be arranged well in advance of trial with the

      courtroom deputy.      See “Courtroom Technology” link on the district website at

      www.ncwd.uscourts.gov.

             Counsel shall provide in electronic format any exhibits of documents, photographs,

      videos, and any other evidence that may be reduced to an electronic file, for the use of

      Court personnel and the Court’s Jury Evidence Recording System (JERS) during trial.

      Documents and photographs shall be in .pdf, .jpg, .bmp, .tif, or .gif format; video and

      audio recordings shall be in .avi, .wmv, .mpg, .mp3, .wma, or .wav format.             Each

      electronic exhibit shall be saved as a separate, independent file, and provided to the Court

      on a storage device, such as cd, dvd, or flash drive. Exhibit files shall be named consistent

      with their order and name on the exhibit list. For example:


             Exhibit 1 -     photograph of . . .


             Exhibit 2(a) - contract


             Exhibit 2(b) - video deposition of . . .


I.    FORMAT FOR EXHIBIT LIST: In preparing the exhibit list, counsel separately shall

      identify and number each exhibit, shall arrange the list numerically by exhibit number, and

      shall place the following headings on the exhibit list:

      Exhibit#       Description     Objections     Identified By          Admitted



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       It is not necessary for counsel to make entries in either the “Identified By” column or the

       “Admitted” column. Counsel shall also provide an electronic copy of the exhibit list with

       the electronic exhibit files.

                                          IV.     ADR

A.     METHOD:           The method of ADR to be utilized in this case is Mediated Settlement

       Conference.

B.     DEADLINE: The timing for completing ADR and filing a report on the results is in the

       parties’ discretion but shall be completed no later than July 20, 2018.

                        V.    SANCTIONS FOR FAILURE TO COMPLY
                                  WITH THE PRETRIAL ORDER

       Failure to comply with any of the provisions of this Order which causes added delay or

expense to the Court may result in the imposition of sanctions as provided by the Federal Rules of

Civil Procedure.


 Signed: May 18, 2017




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